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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                         San Francisco Division

                                  11     NANTWORKS, LLC, et al.,                            Case No. 20-cv-06262-LB
                                  12                    Plaintiffs,                         ORDER GRANTING NIANTIC
Northern District of California




                                                                                            SUMMARY JUDGMENT
 United States District Court




                                  13             v.
                                                                                            Re: ECF No. 245
                                  14     NIANTIC, INC.,
                                  15                    Defendant.

                                  16

                                  17                                          INTRODUCTION

                                  18      NantWorks sued Niantic for infringing NantWorks’ patents in Niantic’s augmented-reality (AR)

                                  19   game apps Pokémon Go and Harry Potter: Wizards Unite. The games use the camera and GPS

                                  20   system on a mobile device and an AR platform to superimpose AR objects onto digital

                                  21   representations of a device’s actual surroundings. For example, Pokémon Go users go on scavenger

                                  22   hunts to collect virtual objects (such as Pokémon characters) that are represented on the device as if

                                  23   they are in the player’s real-world location. U.S. Patent No. 10,4034,051 (the ’051 patent) is directed

                                  24   to incorporating virtual objects into a digital representation of an actual scene surrounding a device

                                  25   (such as a mobile phone). Niantic moved for summary judgment in part on the ground that the ’051

                                  26   claims are directed to an abstract idea (receiving information about a location and displaying

                                  27   materials based on that information), lack an inventive concept, and thus are not patent-eligible

                                  28   subject matter under 35 U.S.C. § 101. The court grants the motion.

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                                   1                                                     STATEMENT

                                   2         The ’051 patent (titled “Interference Based Augmented Reality Hosting Platforms”) was filed

                                   3   in 2018, issued in 2019, and claims priority to April 8, 2011. 1 It is directed to incorporating virtual

                                   4   objects seamlessly and more realistically into a digital representation of an actual scene

                                   5   surrounding a device (such as a mobile phone). 2

                                   6         In one prior AR system, for example, users had access to different AR levels and had to

                                   7   manually select them. 3 Other existing AR systems — while allowing some AR content

                                   8   contextualization based on the environment surrounding the device — failed “to appreciate that

                                   9   objects within an environment or scene can interfere with each other to give rise to an augmented

                                  10   reality experience.” 4 “[E]xisting infrastructures fail[ed] to treat [AR] objects as distinct

                                  11   manageable objects in an infrastructure[-agnostic] manner[.]” 5 This meant that some AR objects

                                  12   (a gaming avatar, for example) would always appear on top of other AR objects and could not go
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                                  13   behind or around other AR objects.

                                  14         The ’051 patent allegedly provides technological improvements in delivering a realistic AR

                                  15   experience with AR objects (within a scene) that can interfere with each other. For example,

                                  16              [N]etworking nodes within a networking fabric can provide augmented reality
                                                  objects . . . to edge AR-capable devices [mobile phones, tablets, and computers, for
                                  17              example]. . . . As the edge devices . . . interact with the networking fabric by
                                                  exchanging data, the fabric can determine which augmented reality objects are most
                                  18              relevant or even which augmented reality itself is most relevant for the device
                                  19              based on context derived from observed real-world elements. Augmented reality
                                                  context can now be used to determine how elements in a scene, a location relevant
                                  20              to an individual, can interfere with each other to give rise to relevant augmented
                                                  reality experiences. 6
                                  21

                                  22

                                  23   1
                                        U.S. Patent No. 10,403,051 (filed Nov. 9, 2018) – ECF No. 114-2. Citations refer to material in the
                                  24   Electronic Case File (ECF); pinpoint citations are to the ECF-generated page numbers at the top of
                                       documents.
                                  25   2
                                           Id. at 2 (at [57]), 11 (col. 1 ll. 63–67), 12 (col. 3 ll. 58–67, col. 4 ll. 1–31).
                                       3
                                  26       Id. at 11 (col. 1 ll. 53–61).
                                       4
                                           Id. (col. 2 ll. 3–29, 37–41).
                                  27   5
                                           Id. at 12 (col. 3 ll. 8–11).
                                  28   6
                                           Id. (col. 3 ll. 40–52).

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                                   1         The alleged improvements allow incorporation of the virtual object more smoothly and

                                   2   realistically into a digital representation of a device by selecting virtual objects (and representing

                                   3   them on the device) based on the elements surrounding the device and enhancing or suppressing the

                                   4   virtual object in the presentation, again based on the context and factors surrounding the device. 7

                                   5         NantWorks’ remaining asserted claims are 7, 22, 23, and 25, which all depend from claim 1. 8

                                   6         Claim 1 recites the following:

                                   7             1. An augmented reality (AR) platform system comprising:
                                                     an AR object repository storing available AR objects in a first non-transitory
                                   8
                                                     computer readable memory; and
                                   9                 an AR server coupled with the AR object repository and, upon execution of
                                                     software instructions stored in a second non-transitory computer readable
                                  10
                                                     memory by a processor, is configured to:
                                  11                      obtain digital data representative of an environment of an AR capable
                                                          mobile device, the digital data including a device location of the AR
                                  12
                                                          capable device and a virtual element attribute;
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                                  13                      determine at least one context related to the AR capable device and
                                                          pertinent to the environment based at least on the device location;
                                  14
                                                          identify relevant AR objects from the AR repository representing available
                                  15                      AR objects corresponding to the at least one context;
                                  16                      determine whether to alter presence of a relevant AR object based on at least
                                                          the device location and the virtual element attribute; and cause the AR capable
                                  17                      device to render the relevant AR object according to its altered presence. 9
                                  18         The court’s claim construction was as follows: 10

                                  19   Claim Term                                                  Construction
                                  20   “virtual element attribute”                                 plain and ordinary meaning

                                  21   “augmented reality”/“AR”                                    “the presentation of virtual objects in a scene
                                                                                                   alongside of real-world elements”
                                  22   “determine at least one context related to the AR           “determine at least one context related to the AR
                                       capable device and pertinent to the environment             capable device and related to the environment
                                  23   based at least on the device location”                      based at least on the device location”
                                  24

                                  25
                                       7
                                  26       Id. at 19 (col. 17 ll. 63–66, col. 18 ll. 18–21, 42–45).
                                       8
                                           Mot. – ECF No. 246 at 7; Opp’n – ECF No. 264 at 10.
                                  27   9
                                           ’051 Patent – ECF No. 114-2 at 21 (col. 21 ll. 46–67, col. 22 ll. 1–2).
                                  28   10
                                            Order – ECF No. 135 at 2.

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                                       “AR object”                                            “the virtual object that is to be presented to the
                                   1                                                          user”
                                   2   “identify relevant AR objects from the AR              subject to the construction of “AR” and “AR
                                       repository representing available AR objects           object,” plain and ordinary meaning
                                   3   corresponding to the at least one context”
                                   4   “alter presence”/“altered presence”                    “alter the presentation”

                                   5        The following are asserted claims 7, 22, 23, and 25, which depend from claim 1.

                                   6                                         Remaining Asserted Claims
                                   7   7. The system of claim 1, wherein the relevant AR objects is caused to be rendered based on an
                                       orientation of the AR capable device relative to the environment.
                                   8   22. The system of claim 1, wherein the determination of whether to alter presence of the relevant
                                       AR depends on a time.
                                   9
                                       23. The system of claim 22, wherein the presence alteration of the relevant AR changes with time.
                                  10
                                       25. The system of claim 24, wherein the commercial transaction includes an exchange of virtual
                                  11   currency. 11

                                  12
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                                  13                                         STANDARD OF REVIEW

                                  14        The court must grant summary judgment where there is no genuine dispute as to any material

                                  15   fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a);

                                  16   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). Material facts are those that may

                                  17   affect the outcome of the case. Anderson, 477 U.S. at 248. A dispute about a material fact is

                                  18   genuine if there is sufficient evidence for a reasonable jury to return a verdict for the nonmoving

                                  19   party. Id. at 248–49.

                                  20        The party moving for summary judgment has the initial burden of informing the court of the

                                  21   basis for the motion and identifying portions of the pleadings, depositions, answers to

                                  22   interrogatories, admissions, or affidavits that demonstrate the absence of a triable issue of material

                                  23   fact. Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). To meet its burden, “the moving

                                  24   party must either produce evidence negating an essential element of the nonmoving party’s claim

                                  25   or defense or show that the nonmoving party does not have enough evidence of an essential

                                  26

                                  27   11
                                         ’051 Patent – ECF No. 114-2 at 21 (claim 7: col. 22 ll. 17–19; claims 22–23: col. 22 ll. 56–60; claim
                                       25: col. 22 ll. 64–65). The court held a hearing on May 30, 2024. All parties consented to magistrate-
                                  28   judge jurisdiction. Consents – ECF Nos. 13 & 19.

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                                   1   element to carry its ultimate burden of persuasion at trial.” Nissan Fire & Marine Ins. Co. v. Fritz

                                   2   Cos., 210 F.3d 1099, 1102 (9th Cir. 2000); see Devereaux v. Abbey, 263 F.3d 1070, 1076 (9th Cir.

                                   3   2001) (“When the nonmoving party has the burden of proof at trial, the moving party need only

                                   4   point out ‘that there is an absence of evidence to support the nonmoving party’s case.’”) (quoting

                                   5   Celotex, 477 U.S. at 325). “Where the moving party will have the burden of proof on an issue at

                                   6   trial, the movant must affirmatively demonstrate that no reasonable trier of fact could find other

                                   7   than for the moving party.” Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007).

                                   8      If the moving party meets its initial burden, then the burden shifts to the nonmoving party to

                                   9   produce evidence supporting its claims or defenses. Nissan, 210 F.3d at 1103. (“Once the moving

                                  10   party carries its initial burden, the adverse party may not rest upon the mere allegations or denials

                                  11   of the adverse party’s pleading, but must provide affidavits or other sources of evidence that set

                                  12   forth specific facts showing that there is a genuine issue for trial.”) Devereaux, 263 F.3d at 1076
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                                  13   (cleaned up). If the non-moving party does not produce evidence to show a genuine issue of

                                  14   material fact, the moving party is entitled to summary judgment. Celotex, 477 U.S. at 322–23.

                                  15      In ruling on a motion for summary judgment, the court does not make credibility

                                  16   determinations or weigh conflicting evidence. Instead, it views the evidence in the light most

                                  17   favorable to the non-moving party and draws all factual inferences in the non-moving party’s

                                  18   favor. E.g., Matsushita Elec. Indus. Co., v. Zenith Radio Corp., 475 U.S. 574, 587–88 (1986); Ting

                                  19   v. United States, 927 F.2d 1504, 1509 (9th Cir. 1991).

                                  20

                                  21                                               ANALYSIS

                                  22      Under 35 U.S.C. § 101, “[w]hoever invents or discovers any new and useful process, machine,

                                  23   manufacture, or composition of matter, or any new and useful improvement thereof, may obtain a

                                  24   patent therefor.” The “laws of nature, physical phenomena, and abstract ideas” are “specific

                                  25   exceptions to § 101’s broad patent-eligibility principles.” Bilski v. Kappos, 561 U.S. 593, 601

                                  26   (2010) (citation omitted).

                                  27      The Supreme Court’s two-step test governs the § 101 inquiry. Alice Corp. Pty. v. CLS Bank

                                  28   Int’l, 573 U.S. 208, 217 (2014). At step one, the court determines “whether the claims at issue are

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                                   1   directed to one of [the] patent-ineligible concepts,” such as abstract ideas. Id. If the claims are

                                   2   directed to an abstract idea, then at step two, the court “considers the elements of each claim

                                   3   individually and as an ordered combination to determine whether the additional elements

                                   4   ‘transform the nature of the claim’ into a patent eligible application.” Id. Step two is a “search for

                                   5   an ‘inventive concept,’” meaning, “an element or combination of elements that is sufficient to

                                   6   ensure that the patent in practice amounts to significantly more than a patent upon the ineligible

                                   7   concept itself.” Id., at 217–218. (cleaned up).

                                   8

                                   9   1. Step One: Abstract Idea

                                  10         Niantic contends that the claim 1 is representative of the asserted claims and is directed to the

                                  11   abstract idea of receiving information about a location and displaying materials based on that

                                  12   information. 12 NantWorks counters that the claims represent specific, concrete improvements in
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                                  13   computer technology for presenting AR in a more realistic manner. 13 On this record, the asserted

                                  14   claims are directed to the abstract idea of receiving information about a location and displaying

                                  15   materials based on that information.

                                  16         “The Supreme Court has not established a definitive rule to determine what constitutes an

                                  17   ‘abstract idea’ sufficient to satisfy the first step of the Mayo/Alice inquiry.” Enfish, LLC v. Microsoft

                                  18   Corp., 822 F.3d 1327, 1334 (Fed. Cir. 2016). Courts “have approached the Step 1 ‘directed to’

                                  19   inquiry by asking what the patent asserts to be the focus of the claimed advance over the prior art,”

                                  20   focusing “on the language of the [a]sserted [c]laims themselves . . . considered in light of the

                                  21   specification.” TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1292–93 (Fed. Cir. 2020) (cautioned

                                  22   against “overgeneralizing claims in the § 101 analysis” because “characterizing the claims at a high

                                  23   level of abstraction all but ensures that the exceptions to § 101 swallow the rule”) (cleaned up).

                                  24         “In cases involving software innovations, th[e] inquiry often turns on whether the claims focus on

                                  25   specific asserted improvements in computer capabilities or instead on a process or system that

                                  26

                                  27   12
                                            Mot. – ECF No. 246 at 9. NantWorks did not dispute that claim 1 is representative.
                                  28   13
                                            Opp’n – ECF No. 264 at 9–10, 12, 13–14.

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                                   1   qualifies [as] an abstract idea for which computers are invoked merely as a tool.” TecSec, 978 F.3d at

                                   2   1293. For example, if a process can be performed in other ways — mentally, or by putting pen to

                                   3   paper — it is an abstract idea. Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1147 (Fed

                                   4   Cir. 2016). Conversely, if the claims provide a specific technical solution — such as, in Data Engine

                                   5   Technologies, a specific method for navigating three-dimensional spreadsheets and the resulting

                                   6   improvement in functionality from prior art — then the claims are not abstract ideas and are patent

                                   7   eligible. Data Engine Techs. LLC v. Google LLC, 906 F.3d 999, 1002, 1007–08 (Fed. Cir. 2018).

                                   8         Niantic contends that claim 1, which is representative of the asserted claims, recites three

                                   9   abstract steps: (1) receiving location information; (2) matching material to that location

                                  10   information; and (3) displaying the material (altering presence) based on that information. 14 It

                                  11   illustrates this by mapping the limitations of representative claim 1 to these three abstract steps.

                                  12   Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1349
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                                  13   (Fed. Cir. 2014) (it is enough to analyze a representative claim under § 101 where the claims are

                                  14   substantially similar and linked to the same abstract idea).

                                  15
                                        Claim 1                                                                 Abstract Step
                                  16
                                        an augmented reality (AR) platform system comprising:
                                  17
                                        an AR object repository storing available AR objects in a first         Generic computer hardware
                                  18    non-transitory computer readable memory; and                               (with material to be
                                                                                                                        displayed)
                                  19    an AR server coupled with the AR object repository and, upon
                                        execution of software instructions stored in a second non-
                                  20    transitory computer readable memory by a processor, is
                                        configured to:
                                  21
                                        obtain digital data representative of an AR capable mobile                   Receiving location
                                  22    device, the digital data including a device location of the AR                  information
                                        capable device and a virtual element attribute;
                                  23
                                        determine at least one context related to the AR capable device
                                  24    and pertinent to the environment based on at least the device            Matching material to that
                                        location;                                                                 location information
                                  25
                                        identify relevant AR objects from the AR repository
                                  26    representing available AR objects corresponding to the at least
                                        one context;
                                  27

                                  28   14
                                            Mot. – ECF No. 246 at 10.

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                                   1    determine whether to alter presence of a relevant AR object
                                        based on at least the device location and the virtual element               Displaying material based
                                   2    attribute; and                                                                on that information 15
                                        cause the AR capable device to render the relevant AR object
                                   3    according to its altered presence.
                                   4         Niantic points to the specification to confirm the high-level nature of claim 1. For the “receiving
                                   5   location information limitations . . . [t]he environment data can include a broad spectrum of data
                                   6   reflecting the real-world environment.” 16 For the “matching material to that location information”
                                   7   limitation, “[c]ontexts can take on many different forms and be defined as desired,” and relevant AR
                                   8   objects are “those objects pertaining to” the context. 17 In other words, Niantic contends, it’s “just
                                   9   information.” 18 Also, the patent states that “[e]nhanced presence and suppressed presence can take
                                  10   many different forms depending on the nature of relevant AR objects,” including “[a]t a most basic
                                  11   level, presence could simply mean relevant AR objects are present (enhanced) or not present
                                  12   (suppressed).” 19 This, Niantic says, means that “alter[ing] presence” can be just showing or not
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                                  13   showing information. 20
                                  14         NantWorks counters that the claims represent specific, concrete improvements in computer
                                  15   technology for presenting AR in a more realistic manner by considering the context of a situation
                                  16   and the way scene elements interfere with the virtual elements presented in that scene. 21 “The
                                  17   platform system then obtains digital data representative of an environment of an AR capable
                                  18   device,” “including a device location of the AR capable device” and “a virtual element
                                  19   attribute.” 22 Then, “at least one context” is determined “related to the AR capable device and
                                  20

                                  21

                                  22   15
                                            Id. at 10.
                                  23   16
                                            Mot. – ECF No. 246 at 10 (quoting ’051 Patent – ECF No. 114-2 at 14 (col. 7 ll. 7–8)).
                                       17
                                  24        Id. (quoting ’051 Patent – ECF No. 114-2 at 14 (col. 8 ll. 23–24), 16 (col 12 ll. 34–36)).
                                       18
                                            Id.
                                  25   19
                                            Id. at 11–12 (quoting ’051 Patent – ECF No. 114-2 at 19 (col. 18 ll. 18–23)).
                                  26   20
                                            Id. at 11.
                                       21
                                  27     Opp’n – ECF No. 264 at 10 (citing Turk Rebuttal Rep. – ECF No. 245-8 at 28 (¶ 101), 11–13 (¶¶ 312,
                                       315).
                                  28   22
                                            Id. (quoting ’051 Patent – ECF No. 114-2 at 21 (col. 21 ll. 55–58)).

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                                   1   pertinent to the environment based on at least the device location.” 23 Then, the system “identif[ies]

                                   2   relevant AR objects from the AR object repository representing available AR objects

                                   3   corresponding to the at least one context.” 24 The system “determine[s] whether to alter the

                                   4   presence of a relevant AR object based on at least the device location and the virtual element

                                   5   attribute.” 25 Finally, the “relevant AR object” is rendered on “the AR capable device . . . according

                                   6   to its altered presence.” 26 “When operated in this manner, virtual objects are selected and

                                   7   displayed on the device based on the device surroundings with presentation of the virtual object

                                   8   enhanced or suppressed based on the particular situation and the device location.” 27

                                   9         In an earlier order, the court invalidated the ’518 patent because providing information based on a

                                  10   location on a map is an abstract idea. 28 That analysis supports the conclusion that the ’051 patent is

                                  11   abstract because it is directed to filtering or picking information or materials relevant to a location or

                                  12   context, which is a human problem, not any specific improvement to a computing technology.
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                                  13   TecSec, 978 F.3d at 1293. Recent cases support the conclusion that claims like these are abstract.

                                  14         For example, in Sanderling Mgmt. Ltd. v. Snap Inc., the Federal Circuit affirmed the district

                                  15   court’s holding of § 101 invalidity for the claims of three patents directed to a method using

                                  16   distribution rules to load digital branding functions when certain conditions were met. 65 F.4th 698,

                                  17   701 (Fed. Cir. 2023). The Federal Circuit considered claim 1 of the Sanderling ’412 patent to be

                                  18   representative. Id. at 701. Niantic identifies the similarities between this patent and the Sanderling

                                  19   patent: Figure 4 of the ’051 patent gives the example of displaying material (a racing pennant) based

                                  20   on information about a location (such as GPS or weather), and the Sanderling Figure 7 presents

                                  21   material (a racecar driver) based on information about location. 29 Niantic also maps the limitations

                                  22

                                  23   23
                                            Id. (quoting ’051 Patent – ECF No. 114-2 at 21 (col. 21 ll. 59–61)).
                                       24
                                  24        Id. (quoting ’051 Patent – ECF No. 114-2 at 21 (col. 21 ll. 62–64)).
                                       25
                                            Id. (quoting ’051 Patent – ECF No. 114-2 at 21 (col. 21 ll. 65–67)).
                                  25   26
                                            Id. (quoting ’051 Patent – ECF No. 114-2 at 21 (col. 22 ll. 1–2)).
                                  26   27
                                            Id. (citations to patent omitted).
                                       28
                                  27     Order – ECF No. 149 at 8–12 (collecting and analyzing cases). The court does not repeat the
                                       analysis and instead incorporates it herein by this reference.
                                  28   29
                                            Mot. – ECF No. 246 at 14 (citations to patents omitted).

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                                   1   and steps of claim 1 of the ’051 patent against claim 1 of the ’412 patent. 30 It is hard to conclude in

                                   2   the face of this comparison — and given the extensive analysis that the court has undertaken in its

                                   3   previous orders — that the patents are directed to improving the prior AR technology, not merely

                                   4   displaying material based on information about location.

                                   5         The dependent claims do not change this analysis. Claim 7 adds the use of orientation to display

                                   6   information, which again is the abstract idea of using information about a device’s location. 31 Claims

                                   7   22 and 23 are directed to the use of time in displaying information. 32 Intellectual Ventures I LLC v.

                                   8   Cap. One Bank (USA), 792 F.3d 1363, 1370 (Fed. Cir. 2015). Claim 25 adds the concept of using

                                   9   money, which is abstract. 33 cxLoyalty, Inc. v. Maritz Holdings Inc., 986 F.3d 1367, 1377 (Fed. Cir.

                                  10   2021) (affirming invalidity of claims directed to automated system for transactions using company-

                                  11   loyalty points because “[h]umans have long intermediated these very transactions by collecting and

                                  12   relaying the very same information”).
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                                  13         As to NantWorks’s assertion that the ’051 patent improves computer functionality, there are

                                  14   efficiencies (such as speed) that attend automation, but those do not amount to a technological

                                  15   improvement or confer patent eligibility on an otherwise abstract idea. Intellectual Ventures I, 792

                                  16   F.3d at 1367 (“claiming the improved speed or efficiency inherent with applying the abstract idea on

                                  17   a computer [does not] provide a sufficient inventive concept”); Ericsson Inc. v. TCL Commc’n Tech.

                                  18   Holdings, 955 F.3d 1317, 1330 (Fed. Cir. 2020).

                                  19         The following points also inform the analysis here.

                                  20         First, NantWorks strays from the claims in its arguments. For example, it talks about the

                                  21   seamless linking of previously separate augmented realities. 34 Assuming this is a technological

                                  22   improvement, it is not in the asserted claims. Similarly, as Niantic points out, NantWorks contends

                                  23

                                  24

                                  25   30
                                            Id. at 15–16.
                                       31
                                  26        Id. at 17–18 (collecting and analyzing cases on this point).
                                       32
                                            Id. at 18.
                                  27   33
                                            Id.
                                  28   34
                                            Opp’n – ECF No. 264 at 9 (citing in part its expert).

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                                   1   that the ’051 claims improved technology by encompassing the concept of interference in between

                                   2   the elements, which causes enhancement or suppression. 35 Again, this is not in the claims.

                                   3         Second, this patent — unlike the other invalidated patents — is being decided at summary

                                   4   judgment. Niantic summarizes sealed testimony by the inventor (Dr. Patrick Soon-Shiong) that

                                   5   supports the conclusion that the claims are directed only to abstract ideas about information. 36

                                   6         Third, the generic benefit associated with displaying content based on a device’s location is

                                   7   about the abstract concept of content selection. 37 Interval Licensing v. AOL, 896 F.3d 1335, 1345

                                   8   (Fed. Cir. 2018) (“the collection, organization, and display of two sets of information on a generic

                                   9   display is abstract”).

                                  10         Fourth, NantWorks cites cases that do not change the outcome. McRO v. Bandai Namco Games

                                  11   Am. involved a specified, automated, rules-based process for facial animation that was different

                                  12   from manual approaches performed by animators. 837 F.3d 1299, 1314–16 (Fed. Cir. 2016). By
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                                  13   contrast, this case involves generic steps. Sanderling, 65 F.4th at 703; Interval Licensing, 896 F.3d

                                  14   at 1346 (distinguishing McRO). Core Wireless, for example, improved the functioning of the

                                  15   computer, which is not the case here. Core Wireless Licensing S.A.R.L. v. LG Elecs., 880 F.3d 1356,

                                  16   1363 (Fed. Cir. 2018). The court previously distinguished Blackbird Tech. LLC v. Niantic, Inc. No.

                                  17   17-cv-1810-RGA, 2018 WL 5630452, at *2 (D. Del. Oct. 31, 2018). 38 The patent claims there were

                                  18   directed to technical steps of integrating images of real spaces into video images of virtual spaces.

                                  19   Id. It also preceded other cases, including Sanderling.

                                  20         In sum, the asserted claims do not focus on asserted improvements in computer technology

                                  21   and instead are directed to an abstract idea.

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                                  26        Reply – ECF No. 274 at 10 (citing Opp’n – ECF No. 264 at 9–10).
                                       36
                                            Mot. – ECF No. 246 at 11–12 (citing sealed deposition testimony).
                                  27   37
                                            Reply – ECF No. 274 at 10 (making this point).
                                  28   38
                                            Order – ECF No. 149 at 11.

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                                   1   2. Step Two: Inventive Concept

                                   2      “[A]n inventive concept must be evident in the claims.” RecogniCorp, LLC v. Nintendo Co.,

                                   3   855 F.3d 1322, 1327 (Fed. Cir. 2017) (citing Alice, 573 U.S. at 221). The claims here describe

                                   4   only generic computer components applied to the abstract idea of providing information based on

                                   5   receiving information about a location and displaying materials based on that information. This is

                                   6   not an inventive concept.

                                   7      For a software patent, the step-two analysis of whether the asserted claims are “more than

                                   8   well-understood, routine, or conventional” overlaps with the step-one analysis of whether the

                                   9   claims focus on a specific asserted technical advance or improvement. BSG Tech. v. BuySeasons,

                                  10   899 F.3d 1281, 1290 (Fed. Cir. 2018); Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353

                                  11   (Fed. Cir. 2016) (Federal Circuit decisions “make clear that the two [Alice] stages involve

                                  12   overlapping scrutiny of the content of the claims”); Enfish, 822 F.3d at 1339 (the “analysis of
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                                  13   whether there are arguably concrete improvements in the recited computer technology could take

                                  14   place under” step one in some cases and step two in others).

                                  15      NantWorks again claims improvement of the AR technology. As discussed in the previous

                                  16   section, there are no specific improvements in computer technology. And the abstract ideas alone

                                  17   are not an inventive concept. BSG Tech., 899 F.3d at 1290 (“It has been clear since Alice that a

                                  18   claimed invention’s use of the ineligible concept to which it is directed cannot supply the inventive

                                  19   concept that renders the invention ‘significantly more’ than that ineligible concept.”). NantWorks

                                  20   cites its expert, but there is nothing in the claims that is an inventive concept under Alice.

                                  21      The court does not rely on Niantic’s expert (Polish) in reaching these conclusions.

                                  22

                                  23                                             CONCLUSION

                                  24      The court grants Niantic’s summary judgment. In light of this holding, the court does not reach

                                  25   the other pending motions.

                                  26      IT IS SO ORDERED.

                                  27      Dated: July 9, 2024                            ______________________________________
                                                                                         LAUREL BEELER
                                  28                                                     United States Magistrate Judge

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